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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )
                                             )
v.                                           )
                                             )   No. 1:19-CR-00297-ELR-JSA
JULIE CHRISLEY,                              )
                                             )
                         Defendant.          )
                                             )
                                             )

           UNOPPOSED MOTION TO PERMIT THE DEFENDANT
               TO APPEAR REMOTELY AT SENTENCING

      Comes now the Defendant, Julie Chrisley, by and through counsel, and

requests that the Court allow her to appear remotely via videoconference for

the sentencing hearing scheduled for September 25, 2024. In support of this

motion, the Defendant would show as follows:

      1.     On December 5, 2022, this Court sentenced Mrs. Chrisley to 84

months of imprisonment, which she is currently serving at FMC Lexington in

Lexington, Kentucky. (Dkt. 338.)

      2.     On July 24, 2024, this Court scheduled the case for resentencing

on September 25, 2024. (Dkt. 423.)

      3.     Because Mrs. Chrisley is presently in the custody of the Bureau of

Prisons (“BOP”) outside the state of Georgia, BOP likely would transfer her via



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the transfer facility in Oklahoma City or place her in a van for a lengthy,

multiple-hour trip while shackled to facilitate her appearance in court. Either

option would remove Mrs. Chrisley from FMC Lexington for an unnecessarily

extended period of time and impose undue physical hardship on her.

      4.    Undersigned counsel has corresponded with Mrs. Chrisley’s case

manager at FMC Lexington and confirmed that she can be made available to

appear remotely for her hearing via videoconference. In this manner,

Mrs. Chrisley can participate in the proceedings fully.

      5.    Undersigned counsel has spoken with counsel for the United

States and can report that the government does not oppose the motion.

      Accordingly, the Defendant respectfully requests that the Court allow

her to appear remotely for her resentencing hearing on September 25, 2024.

                              Respectfully submitted,



                                                  _________________
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                                    Pro Hac Vice
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                         CERTIFICATE OF SERVICE

        I hereby certify that a copy of this Motion was served on the attorneys of

record via the Court’s Electronic Case Filing System on this 31st day of July,

2024.




                                                    ________
                                J. Alex Little




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